Case 1:24-cv-03077-NCM-VMS           Document 34        Filed 09/26/24      Page 1 of 8 PageID #:
                                           383




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NEW YORK


 STEVEN JACOBS,                                    Civil Action No. 1:24-cv-03077-NCM-VMS

                      Plaintiff,

              v.
 DRAFTKINGS, INC.,

                      Defendant.



 The Court enters the following Protective Order governing the disclosure of Protected
 Discovery Material by a Producing Party to a Receiving Party in this Action.

 1.    Definitions. As used in this Order:

       a.     “Action” refers to the above-captioned litigation.

       b.     “Discovery Material” includes all information exchanged between the parties,
              whether gathered through informal requests or communications between the
              parties or their counsel or gathered through formal discovery conducted pursuant
              to the Federal Rules of Civil Procedure (“Rule” or “Rules”) 30 through 36 and 45.
              Discovery Material includes information within documents, depositions,
              deposition exhibits, and other written, recorded, computerized, electronic or
              graphic matter, copies, and excerpts or summaries of documents disclosed as
              required under Rule 26(a).

       c.     A “Producing Party” is a party to this litigation, or a non-party either acting on a
              party’s behalf or responding to discovery pursuant to a Rule 45 subpoena, that
              produces Discovery Material in this Action.

       d.     A “Receiving Party” is a party to this litigation that receives Discovery Material
              from a Producing Party in this Action.

 2.    Protected Discovery Material. This Protective Order applies to all Protected Discovery
       Material produced or obtained in this case.

       a.     For the purposes of this Protective Order, “CONFIDENTIAL” Discovery
              Material shall include: any information that the Designating Party believes in
              good faith: (i) contains or comprises proprietary business, personal, private, or
              confidential information of any party; (ii) contains or comprises commercially


                                                   1
Case 1:24-cv-03077-NCM-VMS              Document 34        Filed 09/26/24      Page 2 of 8 PageID #:
                                              384



                  sensitive information that could cause a Party or any Non-Party 1 competitive
                  harm or otherwise be commercially injurious; (iii) should be protected from
                  disclosure to protect the privacy rights of a Party or any third party; (iv) is
                  covered by any nondisclosure agreement; or (v) any other information or
                  compilation of information that is not generally known to competitors or the
                  public, which any party considers to be confidential and/or proprietary

           b.     For the purposes of this Protective Order, “ATTORNEYS’ EYES ONLY”
                  Discovery Material shall include: any information that the Producing Party
                  believes in good faith is or could be of value to an actual or potential competitor
                  of the Producing Party or another third party and that the Producing Party believes
                  in good faith should be protected from disclosure to prevent competitive harm to
                  the Producing Party.

           c.     The Parties may redact discovery material on the basis of attorney-client privilege
                  and/or attorney work-product privilege, or other applicable privilege or immunity
                  from disclosure. The Producing Party may also redact social security numbers,
                  financial/bank account numbers, names of minors/spouses, dates of birth, and
                  other categories that the Producing Party identifies in the course of discovery as
                  requiring redaction. DraftKings’ customer names, DraftKings account numbers,
                  and contact information such as email, phone numbers, and addresses will not be
                  redacted in productions but may be redacted from court filings. Upon the
                  production of discovery material redacted under any of these conditions, the
                  Receiving Party may request a meet and confer to discuss any redactions.

 3.        Manner of Confidential Designation. A Producing Party shall affix a
           “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” designation to any Protected
           Discovery Material produced in this Action.

           a.     For documentary information (defined to include paper or electronic documents,
                  but not transcripts of depositions or other pretrial or trial proceedings), the
                  Producing Party must affix the legend “CONFIDENTIAL” or “ATTORNEYS’
                  EYES ONLY” to each page that contains protected material.

           b.     If only a portion or portions of the information on a document page qualifies for
                  protection, the Producing Party must clearly identify the protected portion(s) (e.g.,
                  by using highlighting, underlining, or appropriate markings in the margins).

           c.     If it is not feasible to label Protected Discovery Material as “CONFIDENTIAL,”
                  or “ATTORNEYS’ EYES ONLY” the Producing Party shall indicate via cover
                  letter or otherwise at the time of production that the material being produced is
                  confidential.

           d.     The Receiving Party shall have the right to designate Protected Discovery
                  Material as “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” by notifying

 1
     “Non-Party” or “Non-Parties” means a person or entity that is not a party to this Action.


                                                      2
Case 1:24-cv-03077-NCM-VMS        Document 34        Filed 09/26/24      Page 3 of 8 PageID #:
                                        385



            the Producing Party within 30 days of receipt of the material. If the Receiving
            Party makes such designation, the Producing Party will re-produce such material
            with the legend “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY”, as
            appropriate, to each page that contains protected material. The undesignated
            version of such material will be returned or destroyed.

      e.    At the time of a deposition or within 30 days after receipt of the deposition
            transcript, a party may designate as confidential specific portions of the transcript
            which contain confidential matters under the standards set forth in Section 2
            above. This designation shall be in writing and served upon all counsel. No
            objection shall be interposed at deposition that an answer would elicit confidential
            information. Transcripts will be treated as confidential for this 30-day period. Any
            portions of a transcript designated confidential shall thereafter be treated as
            confidential in accordance with this Order. The confidential portion of the
            transcript and any exhibits referenced solely therein shall be bound in a separate
            volume and marked “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” by
            the reporter.

      f.    The Designating Party shall have the right to exclude from a deposition, before
            the taking of testimony which the Designating Party anticipates designating as
            “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
            ONLY,” all persons other than those permitted to receive such Designated
            Material under the terms of this Protective Order.

 4.   Timing of Confidential Designation.

      a.    Designations may be made at any time. To avoid potential waiver of protection
            hereunder, the Producing Party should designate information at the time of
            production or disclosure. Failure of the Producing Party to designate information
            at the time of production or disclosure does not waive protection hereunder and,
            pursuant to Section 14, if, at any time, a party or non-party discovers that it
            produced or disclosed protected information without designation, it may promptly
            notify the Receiving Party and identify with particularity the information to be
            designated and the level of designation (the claw-back notification).

      b.    If the Producing Party responds to discovery by making Discovery Material
            available for inspection, the Producing Party need not affix confidential
            designations until after the Receiving Party has selected the material it wants to
            receive. During the inspection and before the designation, all material made
            available for inspection is deemed confidential. After the Receiving Party has
            identified the Discovery Material it wants produced, the Producing Party must
            determine which materials, or portions thereof, qualify for protection under this
            Order, and designate the materials as “CONFIDENTIAL” or “ATTORNEYS’
            EYES ONLY” as required under this order.




                                                3
Case 1:24-cv-03077-NCM-VMS          Document 34        Filed 09/26/24       Page 4 of 8 PageID #:
                                          386



 5.   Qualified Recipients. For the purposes of this Protective Order, the persons authorized
      to receive CONFIDENTIAL and ATTORNEY’S EYES ONLY Discovery Material
      (hereinafter “Qualified Recipient”) are:

      a.     For CONFIDENTIAL Discovery Material:

             i.      The Parties, including any members, council members, officers, board
                     members, directors, employees, or other legal representatives of the
                     parties;

             ii.     Legal counsel representing the parties, and members of the paralegal,
                     secretarial, or clerical staff who are employed by, retained by, or assisting
                     such counsel; including vendors who are retained to copy documents or
                     electronic files, provide technical, litigation support, or mock trial
                     services, or provide messenger or other administrative support services;

             iii.    Any non-expert witness during any deposition or other proceeding in this
                     Action, and counsel for that witness;

             iv.     Potential witnesses and their counsel, but only to the extent reasonably
                     related to the anticipated subject matter of the potential witness’s
                     deposition, trial, or hearing testimony for this Action, provided, however,
                     that any such witness (or his or her counsel) shall not be permitted to keep
                     or retain copies of any Confidential Discovery Material;

             v.      Consulting or testifying expert witnesses who will be providing
                     professional opinions or assistance for this Action based upon a review of
                     the confidential information, and the staff and assistants employed by the
                     consulting or testifying experts;

             vi.     Any mediator or arbitrator retained by the parties to assist with resolving
                     and/or settling the claims of this Action and members of the arbitrator’s or
                     mediator’s staff and assistants;

             vii.    The parties’ insurers for this Action, and their staff and assistants,
                     members, officers, board members, directors or other legal
                     representatives;

             viii.   Court reporters for depositions taken in this Action, including persons
                     operating video recording equipment and persons preparing transcripts of
                     testimony;

             ix.     The Court and its staff, any court reporter or typist recording or
                     transcribing hearings and testimony, and jurors; and

             x.      Any auditor or regulator of a party entitled to review the confidential
                     Discovery Material due to contractual rights or obligations, or federal or



                                                   4
Case 1:24-cv-03077-NCM-VMS          Document 34        Filed 09/26/24      Page 5 of 8 PageID #:
                                          387



                     state laws, or court orders, but solely for such contractual or legal
                     purposes.

      b.     For ATTORNEYS’ EYES ONLY Discovery Material:

             i.      Plaintiff Steven Jacobs, to the extent he is exclusively proceeding pro se;

             ii.     The Court and its staff, and any court reporter or typist recording or
                     transcribing hearings and testimony;

             iii.    Legal counsel representing the parties, and members of the paralegal,
                     secretarial, or clerical staff who are employed by, retained by, or assisting
                     such counsel; including vendors who are retained to copy documents or
                     electronic files, provide technical, litigation support, or mock trial
                     services, or provide messenger or other administrative support services;

             iv.     Any mediator appointed by the Court or jointly selected by the Parties;
                     and

             v.      Other witnesses or persons to whom the Producing Party agrees in
                     advance of disclosure or by court order.

 6.   Dissemination by the Receiving Party.

      a.     Before receiving Protected Discovery Material, each Qualified Recipient who is
             not included in Sections 5(a)(i) and (ii) above, shall: (i) review and agree to the
             terms of this Protective Order and (ii) execute a copy of the Agreement attached
             hereto as Appendix A.

      b.     The prohibition on disclosing information designated as “CONFIDENTIAL” or
             “ATTORNEYS’ EYES ONLY” exists and is enforceable by the Court even if the
             person receiving the information fails or refuses to sign the Appendix A
             Agreement.

 7.   Limitations on Use. Discovery Material designated as “CONFIDENTIAL” or
      “ATTORNEYS’ EYES ONLY” shall be held in confidence by each Qualified Recipient
      to whom it is disclosed, shall be used only for purposes of this action, and shall not be
      disclosed to any person who is not a Qualified Recipient. Nothing herein prevents
      disclosure beyond the terms of this Protective Order if the party claiming confidentiality
      consents in writing to such disclosure.

 8.   Docket Filings. A party seeking to file documents containing Protected Discovery
      Material under seal must comply with the Court’s rules and electronic docketing
      procedures for filing motions for leave to file under seal.

 9.   Challenges to Confidentiality Designations. A Party that questions the other Party’s
      confidentiality designation will, as an initial step, contact the other Party and confer in
      good faith to resolve the dispute. If the parties are unable to resolve the dispute without


                                                  5
Case 1:24-cv-03077-NCM-VMS           Document 34        Filed 09/26/24     Page 6 of 8 PageID #:
                                           388



       court intervention, they shall apply to the Court for a determination as to whether the
       designation is appropriate. The party that designated as “CONFIDENTIAL” or
       “ATTORNEYS’ EYES ONLY” bears the burden of proving it was properly designated.
       The party challenging a “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY”
       designation must obtain a court order before disseminating the information to anyone
       other than Qualified Recipients.

 10.   Use at Court Hearings and Trial. Subject to the Federal Rules of Evidence, Discovery
       Material designated as “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” may be
       offered and received into evidence at trial or at any hearing or oral argument. A party
       agreeing to the entry of this order does not thereby waive the right to object to the
       admissibility of the material in any proceeding, including trial. Any party may move the
       Court for an order that Discovery Material designated as “CONFIDENTIAL” or
       “ATTORNEYS’ EYES ONLY” be reviewed in camera or under other conditions to
       prevent unnecessary disclosure.

 11.   Return or Destruction of Documents. Upon final termination of this Action, including
       all appeals, each party shall make reasonable efforts to destroy all Discovery
       Material designated as “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY.” The
       destroying party shall notify the producing party when destruction under this provision is
       complete. If a party is unable to destroy all Discovery Material designated as
       “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY,” that material shall be returned to
       the Producing Party or the Producing Party’s counsel. This Protective Order shall survive
       the final termination of this action, and it shall be binding on the parties and their legal
       counsel in the future.

 12.   Modification. This Protective Order is entered without prejudice to the right of any party
       to ask the Court to order additional protective provisions, or to modify, relax or rescind
       any restrictions imposed by this Protective Order. Disclosure other than as provided for
       herein shall require the prior written consent of the Producing Party, or a supplemental
       Protective Order of the Court.

 13.   Additional Parties to Litigation. In the event additional parties are joined in this action,
       they shall not have access to Discovery Material as “CONFIDENTIAL” or
       “ATTORNEYS’ EYES ONLY” until the newly joined party, by its counsel, has executed
       and, at the request of any party, filed with the Court, its agreement to be fully bound by
       this Protective Order.

 14.   Inadvertent Disclosure of Protected Discovery Material. The inadvertent,
       unintentional, or in camera disclosure of a confidential document and information shall
       not generally be deemed a waiver, in whole or in part, of any party’s claims of
       confidentiality. If at any time prior to trial, a producing party realizes that some
       portion(s) of the discovery material that the party produced should be designated as
       confidential, the party may so designate by apprising all parties in writing (the claw-back
       notification), and such portion(s) shall thereafter be treated as confidential under this
       Order. Within 30 days of receiving the claw-back notification, the Receiving Party must
       (1) certify to the Producing Party it has appropriately marked or, if substitute production


                                                   6
Case 1:24-cv-03077-NCM-VMS            Document 34        Filed 09/26/24      Page 7 of 8 PageID #:
                                            389



        has been requested, destroyed all unmarked copies that it received, made, and/or
        distributed; and (2) if it was practicably unable to mark or destroy any information
        because disclosures occurred while the Receiving Party was under no duty of
        confidentiality under the terms of this Order regarding that information, the Receiving
        Party must reasonably provide as much information as practicable to aid the Producing
        Party in protecting the information, consistently with the Receiving Party’s attorney-
        client, work-product, and/or trial-preparation privileges.

 15.    Inadvertent Production of Privileged Information. If, at any time, a party discovers
        that it produced information that it reasonably believes is subject to protection under the
        attorney/client, work-product, or trial-preparation privileges, then it must promptly notify
        each Receiving Party of the claim for protection, the basis for it, amend its privilege log
        accordingly, and comply with Fed. R. Civ. P. 26(b)(5). Whenever possible, the
        producing party must produce substitute information that redacts the information subject
        to the claimed protection. The Receiving Party must thereupon comply with Fed. R. Civ.
        P. 26(b)(5) as to the information subject to the claimed protection

 16.    Jurisdiction. This Court shall retain jurisdiction over all persons subject to this Order to
        the extent necessary to enforce any obligations arising hereunder.




  /s/ Steven B. Jacobs                             /s/ Rees F. Morgan
  Plaintiff Pro Se                                 Attorney for Defendant
  Name:           Steven B. Jacobs                 Name:         Rees F. Morgan (Admitted Pro Hac
  Address:        28-30 Jackson Ave.                               Vice)
                  Long Island City, NY 11101       Address:        Coblentz Patch Duffy & Bass LLP
  Telephone:      (610) 608-3304                                   One Montgomery Street, Suite 3000
                                                                   San Francisco, CA, 94104
  Email:          stevenjacobs@gmail.com
                                                   Telephone:      (415) 391-4800
  Dated:          September 26, 2024
                                                   Email:          ef-rfm@cpdb.com
                                                   Dated:          September 26, 2024



  Dated:                        , 2024             SO ORDERED:

  Brooklyn, NY


                                                   NATASHA C. MERLE
                                                   Judge, United States District Court




                                                    7
Case 1:24-cv-03077-NCM-VMS            Document 34       Filed 09/26/24      Page 8 of 8 PageID #:
                                            390




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK


 STEVEN JACOBS,                                     Civil Action No. 1:24-cv-03077-NCM-VMS

                       Plaintiff,                                    EXHIBIT A

                 v.
 DRAFTKINGS, INC.,

                       Defendant.



 I hereby acknowledge that I am about to receive Confidential Information supplied in
 connection with the above-captioned case. I understand that such information is being provided
 to me pursuant to the terms and restrictions of the Protective Order entered in this case. I have
 been given a copy of the Protective Order, have read the Protective Order, and agree to be bound
 by its terms. I understand that Confidential Information as defined in the Protective Order, or
 any notes or other records that may be made regarding any such materials, shall not be disclosed
 to any persons except as permitted by the Protective Order.




  Printed Name                                     Signature




                                                    8
